Case 2:04-cv-02655-BBD-dkv Document 35 Filed 06/08/05 Page 1 of 2 Page|D 40

Fll.ED ZZ'Y' __% D.C.
UNITED STATES DISTRICT COURT
WESTERN DIS'I`RICT OF TENNESSEE 05 JU§_; ..8 m H: 57
AT MEMPHIS

ROBEF€T Fl. €'J'l TF\GLlO

Lajuana Lewis, on behalf of Herself ) CLEF‘;§<_, U.S. D%S'T. C°l'.
and all others similarly situated, ) W'D‘ G'r` TN' :"P‘EMPHIS
Plaintiff, §
vs. § Case Number: 04-2655 DV
Exxon Mobil Corporation, §
Defendant. §

ORDER OF DISMISSAL
Based on the parties’ Joint Stipulation of Dismissal, Lajuana Lewis v. Exxon
Mobi[ Corporation, Case Number 04-2655-DV, is hereby dismissed without prej udiee,

each party to bear his or its own costs and attorney’s fees and expenses.

none this 31 day OfMay 2005.

    

.S. DISTRICT COURT JUDGE

?his c_ioeumem e.-af;ereci am the ;!¢c!<et sheet m comp!lance \,

_ 17
mh mule 55 and,_@r maj FHCP en §:Q '§ 'OJ 55

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CV-02655 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Ashley M_ Barrington

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER
900 Riverview ToWer

900 South Gay St_

KrioX\/ille7 TN 37902

John E_ Norris

THE RENFROE LAW FIRM
P_O_ BoX 770095

i\/lemphis7 TN 38177--009

Shelia B_ Renfroe

THE RENFROE LAW FIRM, PLLC
P_O_ Box 770095

i\/lemphis7 TN 38177--009

D_ Frank Davis

THE RENFROE LAW FIRM
P_O_ Box 770095

i\/lemphis7 TN 38177--009

HoWard E_ Jarvis

WOOLF MCCLANE BRIGHT ALLEN & CARPENTER, PLLC
900 S_ Gay St_

Ste_ 900

KrioX\/ille7 TN 37902--181

Honorable Bernice Donald
US DISTRICT COURT

